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 1                          UNITED STATES DISTRICT COURT

 2                                DISTRICT OF NEVADA

 3 CHARLES MOSER,                                     Case No. 2:17-cv-01704-APG-NJK

 4                               Plaintiff,                         ORDER
        v.
 5
   DEVIN BALLARD, PATRICK NEVILLE,
   LAS VEGAS METROPOLITAN POLICE
 6 DEPARTMENT,

 7                            Defendants.

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 9     I ORDER the parties to file a proposed Joint Pretrial Order by January 10, 2022.

10     DATED THIS 1st day of December 2021.

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                                                   UNITED STATES DISTRICT JUDGE
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